Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.477 Page 1 of 7
Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.478 Page 2 of 7
Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.479 Page 3 of 7
Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.480 Page 4 of 7
Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.481 Page 5 of 7
Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.482 Page 6 of 7
Case 2:14-cr-00066-EFS   ECF No. 99   filed 03/26/15   PageID.483 Page 7 of 7
